                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                          DOCKET NO. 3:17cr14

             V.                                                        ORDER

ANTHONY ANGLE

  This MATTER is before the Court on Defendant’s pro se Motion for Compassionate Release
(Doc. No. 131)

   The Court hereby ORDERS the Government to respond to the merits of Defendant’s motion
including arguments and/or concessions on the 18 USCA § 3553(a) factors. If applicable, the
response should also include whether or not Defendant has received, is scheduled to receive, or
has refused to receive the COVID-19 vaccine. The Government shall have thirty (30) days from
the date of this Order to file its response with the Court. The Government shall advise the United
States Probation Office if the Government believes a supplemental Presentence Investigation
Report will be required.

IT IS SO ORDERED.
                                            Signed: November 8, 2021




     Case 3:17-cr-00014-FDW-DSC Document 132 Filed 11/08/21 Page 1 of 1
